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Fill in this information to identify the case:

United States Bankruptcy Court for the:
NORTHERN DISTRICT OF TEXAS

 

1 Check if this is an
Case number (if known): Chapter 11 amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/20

!f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and

the case number (if known). For more information, a separate document, tnstructions for Bankruptcy Forms for Non-
Individuals, is available.

1. Debtor's name Electrotek Corporation

 

2.  Altlother names debtor used
in the last 8 years

Include any assumed names,
trade names and doing
business as names

3. Debtor's federal Employer
Identification Number (EIN)

4. Debtor's address Principal place of business Mailing address, if different from principal
place of business

1430 Century Drive

 

 

 

 

Number Street Number Street
P,O, Box
Carrollton TX 75006
City Stale ZIP Code City State ZIP Code

Location of principal assets, if different

 

 

 

 

 

Dallas from principal place of business
County
7745 S. 10th Street
Number — Street
Oak Creek wi 53154
Cily Slale ZIP Code
5. Debtor's website (URL)
6. Type of debtor [4] Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

(+ Partnership (excluding LLP)
( Other, Specify:

 

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Debtor Electrotek Corporation

7. Describe debtor's business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a "small
business debtor" must check
the first sub-box. A debtor as
defined in § 1182(1) who elects
to proceed under subchapter V
of chapter 11 (whether or not
the debtor is a "small business
debtor") must check the second
sub-box

Official Form 201

Case number (if known)

Check one:

A

oO Health Care Business (as defined in 11 U.S.C. § 101(27A))
LJ Single Asset Real Estate (as defined in 11 U.S.C, § 101(51B))
oO Railroad (as defined in 11 U.S.C. § 101(44)})

DO Stockbroker (as defined in 11 U.S.C. § 101(53A))

oO Commodity Broker (as defined in 11 U.S.C. § 101(6))

O
|

Clearing Bank (as defined in 11 U.S.C. § 781(3))
None of the above

Check all that apply:

Tax-exempt entity (as described in 26 U.S.C. § 501)

B.

O

(7 'nvestment company, including hedge fund or pooled investment vehicle (as defined in
15 U.S.C. § 80a-3)

O

Investment advisor (as defined in 15 U.S.C. § 80b-2(a)({11))

 

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor, Sea
http: /Awww.uscourts. gov/four-digit-national-association-naics-codes
3. 3 5 9

Check one:

oO Chapter 7

CO Chapter 9

Chapter 11. Check aif that apply

[J The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C. § 1116(1)(B)

f¥]_ The debtor is a debtor as defined in 11 U.S.C, § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
sheet, statement of operations, cash-flow statement, and federal income tax
return, or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B)

A plan is being filed with this petition
O

( Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b)

[ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
form

oO The debtor is a shell company as defined in the Securities Exchange Act of 1934
Rule 12b-2

LC Chapter 12

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Debtor Electrotek Corporation

9.

10.

11.

12.

Case number (if known)

 

Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

!f more than 2 cases, attach a
separate list

Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list

Why is the case filed in
this district?

Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

Official Form 201

 

 

 

 

M No
OO Yes. District When Case number
MM/DD/YYYY
District When Case number
MM /DD/YYYY
District When Case number
MM /DD/YYYY
No
Yes. Debtor Relationship
District When
MM /DD/YYYY
Case number, if Known
Debtor Relationship
District When
MM/OD/ YYYY
Case number, if known
Check all that apply:

[7] Debtor has had its domicile, principal place of business, or principal assets in this district for 180
days immediately preceding the date of this petition or for a longer part of such 180 days than in
any other district

(J Abankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this

district
No
(0 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
needed.
Why does the property need immediate attention? (Check all that apply.)

[1 #Itposes or is alleged to pose a threat of imminent and identifiable hazard to public health or
safely,
What is the hazard?

 

[It needs to be physically secured or protected from the weather.

[] Itincludes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
related assets or other options),

(J Other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Is the property insured?

L] No

(] Yes. Insurance agency

 

Contact name

 

Phone

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Debtor Electrotek Corporation

Case number {if known)

 

lente Statistical and adminstrative information

13. Debtor's estimation of Check one:
available funds fv] Funds will be available for distribution to unsecured creditors
( After any administrative expenses are paid, no funds will be available for distribution to unsecured
creditors
14. Estimated number of Ey 1-49 (  1,000-5,000 [_ 25,001-50,000
creditors [50-99 (1 =5,001-10,000 [_=50,001-100,000
WM 100-199 [J 10,001-25,000 ( More than 100,000
[200-999
15. Estimated assets D $0-$50,000 w $1,000,001-$10 million oO $500,000,001-$1 billion
[+ $50,001-$100,000 [J $10,000,001-$50 million (_ $1,000,000,001-$10 billion
[J $100,001-$500,000 [J $50,000,001-$100 million {]_ $10,000,000,001-$50 billion
[J $500,001-$1 million [+ $100,000,001-$500 million [7] More than $50 billion
16. Estimated liabilities T= $0-$50,000 Lj] $1,000,001-$10 million (1) $500,000,001-$1 billion
[J $50,001-$100,000 [ $10,000,001-$50 million [LJ $1,000,000,001-$10 billion
[+ $100,001-$500,000 (1 $50,000,001-$100 million {]_ $10,000,000,001-$50 billion
[J $500,001-$1 million oO $100,000,001-$500 million [7] More than $50 billion

ee Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3571

17. Declaration and signature of
authorized representative
of debtor

this petition

® | have been authorized to file this petition on behalf of the debtor.

@ The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in

@ | have examined the information in this petition and have a reasonable belief that the information is

true and correct

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 03/08/2021
MM /DD/YYYY

X /si Mike Swerdlow
Signature of authorized representative of debtor
Mike Swerdlow

 

Printed name
Chief Financial Officer

 

Title

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Debtor Electrotek Corporation

 

18. Signature of attorney

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X /si Joyce W. Lindauer

Case number {if known)

Date 03/08/2021

 

Signature of attorney for debtor

Joyce W. Lindauer
Printed name

Joyce Lindauer

MM /DD/YYYY

 

Firm name
Joyce W. Lindauer Attorney, PLLC

 

Number Street
1412 Main Street, Suite 500

 

Dallas

TX 75202

 

City

(972) 503-4033

State ZIP Code

joyce@joycelindauer.com

 

Contact phone
21555700

 

Email address
TX

 

Bar number

State

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